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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      Case No. 21-CR-120-RCL
                                              :
SCOTT KEVIN FAIRLAMB,                         :
                                              :
                       Defendant.             :


                    UNOPPOSED MOTION FOR PROTECTIVE ORDER

       The United States of America hereby respectfully moves the Court for the entry of an

updated protective order governing the production of discovery by the parties in the above-

captioned case. The United States and counsel for Defendant have reached an agreement as to the

proposed protective order. Therefore, the United States is authorized to represent to the Court that

Defendant does not oppose this motion or the entry of the attached protective order.



                                              Respectfully submitted,

                                              CHANNING D. PHILLIPS
                                              Acting United States Attorney
                                              DC Bar No. 415793


                                      By:               /s/
                                              LESLIE A. GOEMAAT
                                              MA Bar No. 676695
                                              Assistant United States Attorney
                                              Fraud Section
                                              U.S. Attorney’s Office
                                              555 4th Street, N.W., Room 5840
                                              Washington, D.C. 20530
                                              Office: 202-803-1608
                                              Leslie.Goemaat@usdoj.gov
